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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                       PM 'DPLDQ
                                   No. ________________

UNITED STATES OF AMERICA                                         ),/(' 81'(5 6($/

vs.

DANIEL LESIN,

                   Defendant.
_____________________________/

                               CRIMINAL COVER SHEET

1.    Did this matter originate from a matter pending in the Northern Region of the United
      States Attorney’s Office prior to August 8, 2014?          Yes    X     No

2.    Did this matter originate from a matter pending in the Central Region of the United States
      Attorney’s Office prior to October 3, 2019?           Yes       X     No


                                           Respectfully submitted,

                                           JUAN ANTONIO GONZALEZ
                                           UNITED STATES ATTORNEY


                                    BY:    /s/ Roger Cruz
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